                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


PRESS ROBINSON, EDGAR CAGE, DOROTHY
NAIRNE, EDWIN RENE SOULE, ALICE
WASHINGTON, CLEE EARNEST LOWE,
DAVANTE LEWIS, MARTHA DAVIS,
AMBROSE SIMS, NATIONAL ASSOCIATION
FOR THE ADVANCEMENT OF COLORED
PEOPLE (“NAACP”) LOUISIANA STATE
CONFERENCE, AND POWER COALITION FOR
EQUITY AND JUSTICE, Plaintiffs,
V.
KYLE ARDOIN, in his official capacity as
Secretary of State for Louisiana, Defendant.
                                                           Civil Action No. 3:22-cv-00211
                                                           Chief Judge Shelly D. Dick
                                                           Magistrate Judge Richard L.
                                                           Bourgeois, Jr.


 MEMORANDUM IN SUPPORT OF MOTION OF THE LOUISIANA LEGISLATIVE

                             BLACK CAUCUS TO INTERVENE

     Pursuant to Fed. R. Civ. P. 24, The Louisiana Legislative Black Caucus (LLBC) respectfully

move this Court to grant it leave to intervene in this action. This lawsuit challenges the

congressional redistricting plan that was recently enacted by the Louisiana Legislature over the

veto of Louisiana Governor John Bell Edwards, who vetoed the plan adopted by the Legislature

because he believed the plan to be illegal under the Voter Rights Act. Plaintiffs allege that the

plan “continues the State of Louisiana’s long history of maximizing political power for white

citizens by disenfranchising and discriminating against Black Louisianans,” “by ‘packing’ large

numbers of Black voters into a single majority-Black congressional district, and ‘cracking’ the

State’s remaining Black voters among the five remaining districts” “in violation of the Voting
Rights Act of 1965.” (Doc. 1, ¶ 1.) Plaintiffs ask the Court to declare the plan unlawful, enjoin its

use in future elections, order the Legislature to enact a new redistricting plan with two majority-

minority districts, and—if no such plan is enacted—fashion redistricting plans to govern Louisiana

elections to the U.S. House of Representatives.

       Intervenor LLBC is an association of African American members of the Louisiana

legislature. Members of LLBC opposed the plan which is the subject of this proceeding when it

was first proposed and were united in opposing the plan throughout the process of its adoption by

the Louisiana legislature. Throughout that process members of LLBC contended that the proposed

plan was illegal, the same claim which is asserted by the Plaintiff in this proceeding and continued

to oppose the plan when it was presented to and ultimately vetoed by the governor and also

continued to be united in opposition to the plan during the veto override session when the plan was

purportedly adopted.

       Plaintiffs named the Louisiana Secretary of State as the sole defendant. The Louisiana

Legislature enacted the challenged plans and in the event that the relief prayed for by the Plaintiff

is granted, as LLBC hopes it will be, then the Legislature would have at least the initial obligation

to adopt a plan which meets the requirements of the Voter Rights Act. As Intervenor is the single

association of the members of the Legislature who have continuously opposed the plan adopted by

the Legislature and would be substantially involved in any effort to adopt a plan which complies

with the Voter Rights Act, LLBC is a real party in interest and should be permitted to intervene.

The Court should allow those most concerned that the current plan is illegal to participate in the

requested remedy, to appear and respond. Proposed Intervenor is entitled to intervene as of right:

this motion is timely, as an extension of time to file interventions through April 21, 2022 has been

granted, their interest in the challenged plan is directly implicated in this case, and no current
litigant adequately represents the interests of legislators who have continuously opposed the plan

and will be required to participate in any alternate plan adopted by the Legislature. Alternatively,

LLBC asks the Court to grant permissive intervention. Proposed Intervenor clearly raisees issues

in common with Plaintiffs’ Complaint, their participation would enhance the Court’s ability to

resolve issues raised in this litigation, and Plaintiffs will not be prejudiced by their participation to

respond to allegations regarding the actions of the Legislature.

        Because all elements of intervention are satisfied, the motion should be granted.

APPLICABLE LAW

        Rule 24(a) requires a federal court to permit intervention of a non-party who “claims an

interest relating to the property or transaction that is the subject of the action, and is so situated

that disposing of the action may as a practical matter impair or impede the movant’s ability to

protect its interest, unless existing parties adequately represent that interest,” and Rule 24(b)

permits a federal court to allow intervention of non-parties that tender “a claim or defense that

shares with the main action a common question of law or fact.” Fed. R. Civ. P. 24(a)(2) and

(b)(1)(B). “Rule 24 is to be liberally construed” in favor of intervention. Brumfield v. Dodd, 3 F.3d

339, 341 (5th Cir. 2014); see also Wal-Mart Stores, Inc. v. Tex. Alcoholic Beverage Comm’n, 834

F.3d 562, 565 (5th Cir. 2016) (same). “The inquiry is a flexible one, and a practical analysis of the

facts and circumstances of each case is appropriate.” Brumfield, 749 F.3d at 341 (quotation marks

omitted). “Intervention should generally be allowed where no one would be hurt and greater justice

could be attained.” Ross v. Marshall, 426 F.3d 745, 753 (5th Cir. 2005).

ARGUMENT

        Proposed Intervenor is entitled to intervene of right as LLBC satisfies the elements of

intervention of right. “A party seeking to intervene as of right must satisfy four requirements: (1)
The application must be timely; (2) the applicant must have an interest relating to the property or

transaction that is the subject of the action; (3) the applicant must be so situated that the disposition

of the action may, as a practical matter, impair or impede its ability to protect its interest; and (4)

the applicant’s interest must be inadequately represented by the existing parties to the suit.”

Brumfield, 749 F.3d at 341 (citation omitted). Proposed Intervenor satisfies each of these elements.

INTERVENTION OF RIGHT

I. LLBC meets all the requirements for intervention of right.

          A.Timeliness. This intervention motion is timely. The complaint was filed on March 30,

          2022, the deadline set by the Court for intervention has not yet passed, and no meaningful

          case events have occurred. As a result, “timeliness is not at issue.” Brumfield, 749 F.3d

          at 342; see Edwards v. City of Houston, 78 F.3d 983, 1000 (5th Cir. 1996) (finding that

          delays of “only 37 and 47 days . . . are not unreasonable”); Ross, 426 F.3d at 755

          (permitting post-judgment intervention); United States v. Commonwealth of Virginia,

          282 F.R.D. 403, 405 (E.D. Va. 2012) (“Where a case has not progressed beyond the

          initial pleading stage, a motion to intervene is timely.”); Mullins v. De Soto Securities

          Co., 3 F.R.D. 432, 433 (W.D. La. 1944) (finding motion to intervene timely during the

          initial pleading stage.

    B. Interest. LLBC also “has a ‘direct, substantial, legally protectable interest in the

        proceedings.’” Edwards, 78 F.3d at 1004 (quoting New Orleans Pub. Serv., Inc. v. United

        Gas Pipe Line Co., 732 F.2d 452, 463 (5th Cir. 1984)). “A ‘legally protectable’ right” for

        intervention purposes “is not identical to a ‘legally enforceable’ right, such that ‘an interest

        is sufficient if it is of the type that the law deems worthy of protection, even if the intervenor

        . . . would not have standing to pursue her own claim.’” DeOtte v. State, 20 F.4th 1055,
   1068 (5th Cir. 2021) (citations omitted); see also Wal-Mart Stores, 834 F.3d at 566 (same).

   Rather, “[a] movant found to be a ‘real party in interest’ generally establishes sufficient

   interest.” League of United Latin Am. Citizens, Council No. 4434 v. Clements, 884 F.2d

   185, 187 (5th Cir. 1989) “[A] ‘real party in interest’ may be ascertained by determining

   whether that party caused the injury and, if so, whether it has the power to comply with a

   remedial order of the court.” Id. at 187. Proposed Intervenors have multiple interests

   implicated in this case. The Fifth Circuit has recognized that the legislative body that

   played a “part in creating” challenged districts is a real party in interest. See id. (denying

   intervention of a county in redistricting suit because other state bodies, not the county, had

   authority to redistrict); see also Miss. State Conf. of N.A.A.C.P. v. Barbour, No. 3:11-cv-

   00159, 2011 WL 1327248, at *3 (S.D. Miss. Apr. 1, 2011) (finding that the Mississippi

   House of Representatives Apportionment and Elections Committee had the right to

   intervene in redistricting case); Theriot v. Parish of Jefferson, CIV. A. No. 95-2453, 1996

   WL 383130, at *4 (E.D. La. July 8, 1996), on reconsideration, No. 95-2453, 1996 WL

   517695 (E.D. La. Sept. 11, 1996) (denying intervention by neighboring city council

   because the neighboring city council did not have the power to redraw the councilmanic

   district lines in question). In this regard The LLBC notes that members of the legislature

   who proposed and supported the plan adopted by the Legislature, which is challenged as

   illegal in this proceeding, have requested the right to intervene in this matter in support of

   the plan that the LLBC contends is illegal.

C. Participation in the disposition. If the relief prayed for by the Plaintiffs is granted LLBC

   members will certainly propose and support a proposed legislative remedy which would

   obviate the need for the Court to assume the challenge of drafting Congressional Districts.
   D. LLBC is not adequately represented. “A movant’s burden to show that its interests are

       not adequately protected is minimal and satisfied if the applicant shows that representation

       of his interest may be inadequate.” Rotstain v. Mendez, 986 F.3d 931, 939 (5th Cir. 2021)

       (quoting Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972)

       (emphasis added) (internal quotation marks omitted)). The LLBC meets this “minimal”

       burden, because while the LLBC and the current plaintiffs may share some mutual

       interests, the LLBC has at least one unique interest: namely, in promoting of the interests

       of their communities of constituents. The outcome of every redistricting case, one way or

       another, is a map. Should the plaintiffs prevail, their perspective on the optimal remedy

       may differ from that of the LLBC and its members, who speak not just for individual voters

       but also for their communities and their districts as a whole. On this central point of dispute,

       the LLBC and the current plaintiffs may differ in their views as to the optimal remedy, and

       this “adversity of interest[s],” Entergy Gulf States, 817 F.3d at 206, “in a manner germane

       to the case,” Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015) at 662,

       satisfies the “minimal” burden of the adequacy prong under Rule 24(a), Trbovich, 404 U.S.

       at 538 n.10.


II. PERMISSIVE INTERVENTION IS ALSO PROPER


       In the alternative, if this Court deems that the LLBC may not intervene as of right, this

Court should nonetheless grant permissive intervention under Federal Rule of Civil Procedure

24(b). “A district court may permit intervention if [1] a timely motion is filed and [2] the applicant

‘has a claim or defense that shares with the main action a common question of law or fact.’”
Rotstain, 986 F.3d at 942 (quoting Fed. R. Civ. P. 24(b)(1)(B)). In turn, federal courts routinely

permit third parties to intervene in redistricting cases, including cases brought under Section 2 of


the Voter Rights Act. See, e.g., League of Women Voters of Mich. v. Johnson, 902 F.3d 572, 577–

80 (6th Cir. 2018) (permitting legislators representing districts at issue in the litigation to intervene,

and holding that the district court’s denial of motion to intervene was an abuse of discretion);

Caster v. Merrill, No. 2:21-cv-01536-AMM, slip op. at 1 (N.D. Ala. Dec. 21, 2021), ECF No. 69

(granting motion to intervene in Voter Rights Act Section 2 case); Ala. Legis. Black Caucus v.

Alabama, No. 2:12-cv-00691-WKW-MHT-WHP, slip op. at 2 (M.D. Ala. Mar. 27, 2013), ECF

No. 90 (same); Rodriguez v. Harris County, No. 4:11-cv-02907, slip op. at 1 (S.D. Tex. Oct. 21,

2011), ECF No. 31 (same); Hays v. Louisiana, No. 5:92-cv-1522, slip op. at 1 (W.D. La. Aug. 9,

1995), Dkt. No. 179 (granting LLBC’s motion to intervene in Voter Rights Act case).


Similar permission would be proper here, as the LLBC satisfies both requirements for intervention

under Rule 24(b). First, as explained above, the LLBC’s motion is timely. Second, the current

plaintiffs and the LLBC present claims that share common questions of fact and law regarding the

legality of the 2022 Congressional Map under Section 2 of the Voter Rights Act. Given this

overlap, permitting LLBC to intervene would serve the policies of “efficient judicial

administration” underling Rule 24(b). New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co.,

690 F.2d 1203, 1215 (5th Cir. 1982); see Buck v. Gordon, 959 F.3d 219, 225 (6th Cir. 2020)

(“Strong interest in judicial economy and desire to avoid multiplicity of litigation wherever and

whenever possible therefore supports permissive intervention.”). Nor would intervention here

“unduly delay or prejudice any parties.” Hanover Ins. Co. v. Superior Lab. Servs., Inc., 179 F.

Supp. 3d 656, 668 (E.D. La. 2016).
CONCLUSION


    Whether as of right or permissively, the LLBC should be able to intervene in this case.




                                         Respectfully submitted,


                                         Stephen M. Irving
                                         STEPHEN M. IRVING (7170) T.A.
                                         Steve Irving, LLC
                                         111 Founders Drive, Suite 700 Baton Rouge, LA
                                         70810-8959
                                          Telephone: (225) 752-2688
                                         Facsimile: (225) 752-2663
                                         Email: steve@steveirvingllc.com - AND

                                         ERNEST L. JOHNSON #07290
                                         Attorney at Law
                                         3313 Government Street
                                         Baton Rouge, LA 70806
                                         (225) 413-3219
                                         ernestjohnson@lacapfund.com
